Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39856 Filed 04/25/22 Page 1 of 35




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


                                               :
      IN RE AUTOMOTIVE PARTS                   :   Master File No. 12-md-02311
      ANTITRUST LITIGATION                     :   Honorable Sean F. Cox
                                               :

                                               :
      THIS DOCUMENT RELATES TO:                :
      ALL END-PAYOR ACTIONS                    :
                                               :
                                               :


      END-PAYOR PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
    ENTERPRISE FLEET MANAGEMENT, INC.’S MOTION TO ENFORCE
        END PAYOR SETTLEMENTS AND STRIKE STIPULATION
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39857 Filed 04/25/22 Page 2 of 35




                    STATEMENT OF ISSUES PRESENTED

        1. Can Crowell & Moring LLP obtain recovery under the
           settlement agreements for its client, Enterprise Fleet
           Management, Inc., where neither entity is a settlement class
           member and where neither entity sought leave of the Court to
           intervene to assert their arguments?

              No.

        2. Should the Court strike its order entering a stipulation
           between Settlement Class Counsel, Class Action Capital,
           LLC, and its clients where: (i) the stipulation is consistent
           with the settlement agreements and plan of allocation; (ii) the
           stipulation is limited to the signatories; and (iii) as an entity
           that is not included in the settlement classes, Enterprise Fleet
           Management Corp. has no standing to challenge them?

              No.




                                          i
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39858 Filed 04/25/22 Page 3 of 35




              TABLE OF MOST CONTROLLING AUTHORITIES

        Request Foods, Inc. v. Am. Roland Food Corp., No. 1:11-CV-128, 2012 WL
   13018611 (W.D. Mich. Sept. 12, 2012).




                                        ii
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39859 Filed 04/25/22 Page 4 of 35




                                           TABLE OF CONTENTS

   STATEMENT OF ISSUES PRESENTED.................................................................i

                     1.       Can Crowell & Moring LLP obtain recovery under the
                              settlement agreements for its client, Enterprise Fleet
                              Management, Inc., where neither entity is a settlement
                              class member and where neither entity sought leave of
                              the Court to intervene to assert their arguments? ........................i

                     2.       Should the Court strike its order entering a stipulation
                              between Settlement Class Counsel, Class Action
                              Capital, LLC, and its clients where: (i) the stipulation
                              is consistent with the settlement agreements and plan
                              of allocation; (ii) the stipulation is limited to the
                              signatories; and (iii) as an entity that is not included in
                              the settlement classes, Enterprise Fleet Management
                              Corp. has no standing to challenge them? ...................................i

   TABLE OF MOST CONTROLLING AUTHORITIES .......................................... ii

   INTRODUCTION ..................................................................................................... 1

   BACKGROUND ....................................................................................................... 3

            I.       The End-Payor Actions Always Contemplated a Settlement
                     Class Definition Limited to End-Payors. .............................................. 3

            II.      Settlement Class Counsel’s November 2019 Email to Crowell
                     Is Irrelevant, Was Not Relied Upon, And Is Not Inconsistent
                     With the Settlement Class Definition. ................................................... 8

            III.     Settlement Class Counsel Entered into a Stipulation with
                     Another Third-Party Claims Filer and Its Clients that Is Not
                     Binding on EFM and is Consistent with a Settlement Class
                     Definition Limited to End-Payors. ...................................................... 10

            IV.      The FMCs, Including EFM, Operate in a Manner that
                     Excludes them from the Settlement Classes. ...................................... 12

   ARGUMENT ........................................................................................................... 13


                                                             iii
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39860 Filed 04/25/22 Page 5 of 35




            I.       EFM Is Not Entitled to Relief Since It Is Not A Settlement
                     Class Member. ..................................................................................... 14

                     A.       The Settlement Agreements Limit the Settlement Class
                              to End-Payors. ........................................................................... 14

                     B.       EFM is Properly Excluded from the Settlement Class
                              Because FMCs Are Not “End-Payors” of a Leased
                              Vehicle. ..................................................................................... 16

                     C.       Treating EFM As An EPP Settlement Class Member
                              Creates Double Recovery Problems And Was Never
                              Contemplated. ........................................................................... 16

            II.      The Motion is Procedurally Improper Since EFM Has Neither
                     Sought Nor Been Granted Leave to Intervene. ................................... 18

            III.     Estoppel Does Not Prevent Settlement Class Counsel From
                     Asserting EFM’s Exclusion From the Settlement Classes. ................ 19

            IV.      The CAC Stipulation Supports Settlement Class Counsel’s
                     Position and Is Consistent With the Plan of Allocation. ..................... 20

                     A.       Movant Does Not Have Standing to Challenge the
                              Stipulation. ................................................................................ 21

                     B.       The CAC Stipulation Does Not Violate Illinois Brick. ............ 22

                     C.       The CAC Stipulation Does Not Violate the Plan of
                              Allocation. ................................................................................. 24

   CONCLUSION ........................................................................................................ 25




                                                              iv
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39861 Filed 04/25/22 Page 6 of 35




                                         TABLE OF AUTHORITIES

                                                                                                                 Page(s)

   Cases

   Franklin Cty. v. Travelers Prop. Cas. Ins. Co. of Am.,
      No. CIV.A 3:08-52-DCR, 2008 WL 4787401 (E.D. Ky. Oct. 30, 2008) .......... 18

   Illinois Brick Co. v. Illinois,
       431 U.S. 720 (1977) .....................................................................................passim

   In re Automotive Parts Litig.,
       997 F.3d 677 (6th Cir. 2021) ....................................................................3, 14, 23

   In re Class 8 Transmission Indirect Purchaser Antitrust Litig.,
       140 F. Supp. 3d 339 (D. Del. 2015)...................................................................... 5

   In re Methionine Antitrust Litig.,
       204 F.R.D. 161 (N.D. Cal. 2001).......................................................................... 5

   In re Optical Disk Drive Antitrust Litig.,
       2016 WL 467444 (N.D. Cal. Feb. 8, 2016) ........................................................ 23

   In re Polyurethane Foam Antitrust Litig.,
       168 F. Supp. 3d 985 (N.D. Ohio 2016) .............................................................. 23

   Livonia Prop. Hldgs., L.L.C. v. 12840-12976 Farmington Rd. Hldgs., L.L.C.,
      717 F. Supp. 2d 724 (E.D. Mich. 2010) ............................................................. 21

   Lyngaas v. Curaden AG,
      436 F. Supp. 3d 1019 (E.D. Mich. 2020), aff’d sub nom. 992 F.3d 412
      (6th Cir. 2021)..................................................................................................... 23

   Marino v. Ortiz,
     484 U.S. 301 (1988) ............................................................................................ 21

   Old Kent Bank v. Sobczak,
      243 Mich. App. 57 (2000) .................................................................................. 14

   Paul v. Detroit Edison Co.,
     94 F. Supp. 3d 880 (E.D. Mich. 2015) .........................................................19, 20


                                                               v
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39862 Filed 04/25/22 Page 7 of 35




   Request Foods, Inc. v. Am. Roland Food Corp.,
     No. 1:11-CV-128, 2012 WL 13018611 (W.D. Mich. Sept. 12, 2012) ............... 15

   Stromberg v. Qualcomm, Inc.,
      14 F.4th 1059 (9th Cir. 2021) ............................................................................. 24

   Toldy v. Fifth Third Mortg. Co.,
      No. 1:09 CV 377, 2010 WL 2640021 (N.D. Ohio June 29, 2010) .................... 18

   Welsh v. Wachovia Corp.,
     191 F. App’x 345 (6th Cir. 2006) ....................................................................... 22




                                                          vi
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39863 Filed 04/25/22 Page 8 of 35




                                  INTRODUCTION

         End-Payor Plaintiffs (“EPPs”), by and through their Court-appointed counsel

   (“Settlement Class Counsel”), respectfully submit this memorandum in opposition

   to the motion made by Crowell & Moring LLP’s (“Crowell”) on behalf of non-party

   Enterprise Fleet Management, Inc. (“EFM”) to participate in the settlements as if it

   were a settlement class member. ECF No. 2192. Fleet Management Companies

   (“FMCs”) such as EFM are companies in the business of leasing vehicles to their

   business customers. In addition to submitting claims on behalf of EFM, Crowell has

   submitted claims on behalf of EFM’s customers based on many of the same vehicles.

   Plainly, the FMC customers are at the end of the chain of distribution and are the

   members of the class. For the reasons set forth below, the motion should be denied.

         First, the Settlement Agreements were made on behalf of settlement classes

   of end payors. This is obvious both on the face of the Settlement Agreements, see,

   e.g., Exhaust Systems, ECF No. 112-1, PgId.3818 (defining Releasors as “End-

   Payor Plaintiff Class Representatives and the Settlement Class Members”), and by

   reference to the underlying complaints, which explain that the “members of the

   proposed Classes purchased [the affected parts] indirectly” as “an owner or lessee

   of a new Vehicle” and that “in a multiple-level chain of distribution, passing on

   monopoly overcharges is not the exception: it is the rule,” Id., PgId.3816. The

   settlement class definitions also include the exclusionary term “not for resale,”


                                            1
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39864 Filed 04/25/22 Page 9 of 35




   which excludes all entities except end-users. The record in these cases demonstrate

   that the settlement classes are limited to end payors.

         Second, FMCs, such as EFM, cannot automatically be deemed settlement

   class members, particularly where they make claims for vehicles they lease. EFM

   does not contest that the vehicles it seeks to recover upon in this litigation are those

   it purchased to lease to its corporate customers; it is therefore not the end-user in the

   chain of distribution. This is illustrated by the fact that even the sample lease

   agreement provided by a FMC passes all risk of loss on to the lessor, as well as all

   “costs, expenses, fees and charges.” ECF No. 2192-6, PgId.39781-82.

         Third, movant’s interpretation is contradicted by the record in these cases.

   Nothing in the settlement agreements, plan of allocation, or any other filing made in

   these cases contemplate that two persons or entities could make a claim to share in

   the settlements based on the same vehicle. Movant’s interpretation would in fact

   contradict the pro rata scheme in the Plan of Allocation that provides for payment

   on a per-vehicle and per-part pro rata basis.

         In sum, if granted, the motion filed by Crowell on behalf of EFM would do

   violence to the standard principles of claims administration by raising fundamental

   questions about fairness of notice to end-payor purchasers—the only settlement class

   members specified in the settlement agreements. It would also cause substantial

   additional delay to an already-complicated claims administration process.


                                              2
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39865 Filed 04/25/22 Page 10 of 35




            Movant’s attempt to overturn a negotiated stipulation between EPPs and the

   nation’s largest FMCs—a stipulation that recognizes the limitation of the

   settlement classes to end-payors—should also be rejected. EFM does not have

   standing to challenge the stipulation since it is not a settlement class member and is

   not bound by the agreement. The stipulation, which resolves a disputed question,

   does not violate Illinois Brick Co. v. Illinois, 431 U.S. 720, 723 (1977), a case that

   only applies to a litigated class and not to a settlement class. As the Sixth Circuit has

   recognized, “Illinois Brick is a question of antitrust standing . . . It is not a question

   that bears on the interpretation of the settlement agreements.” In re Automotive Parts

   Litig., 997 F.3d 677, 683 (6th Cir. 2021) (hereinafter “Yamashita”). The stipulation

   is likewise consistent with the plan of allocation and does not contemplate that

   overlapping claims could be submitted based on the same vehicles. The motion

   should be denied.

                                      BACKGROUND

       I.   The End-Payor Actions Always Contemplated a Settlement Class
            Definition Limited to End-Payors.

            The district court granted final approval of the settlements in four successive

   rounds.1


   1
    Final approval was granted on June 20, 2016 (Round 1), September 25, 2017
   (Round 2), November 8, 2019 (Round 3), and September 23, 2020 (Round 4). ECF
   No. 2101, PgId.38264. Preliminary approval was granted months before each final
   approval hearing took place.
                                               3
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39866 Filed 04/25/22 Page 11 of 35




         As is acknowledged in the motion, EPP settlement class members only

   include “persons and entities that . . . purchased or leased a new Vehicle [or

   replacement parts] in the United States not for resale.” ECF No. 2192, PgId.39741.

   The settlement classes are defined in the settlement agreements, described in the

   class notices for each round of settlements, and outlined in the Plan of Allocation

   repeatedly approved by the district court. See, e.g., Exhaust Systems, ECF No. 112-

   1, PgId.3819 (Meritor Settlement); ECF No. 2005-2, PgId.36628 (Plan of

   Allocation). On their face, the settlement agreements do not entitle FMCs—entities

   who purchase large volumes of vehicles not for their own use but to immediately

   lease them to their end-user customers—to share in the settlements. Entities who

   purchase vehicles for the purpose of immediately re-leasing them were never

   intended to be included in the settlement classes. Reiss Decl. ¶ 4. The intent not to

   include them is particularly obvious when viewed in proper context.

         Other Provisions within the Settlement Agreements: The settlement

   agreements at issue all contain consistent language stating that the agreements “shall

   be construed and interpreted to effectuate the intent of the parties, which is to

   provide, through this Agreement, for a complete resolution of the relevant claims

   with respect to each Releasee as provided in the agreement.” See, e.g., Exhaust

   Systems, ECF No. 112-1, PgId.3841 (Meritor Settlement). Releasors are defined in

   the settlement agreements as “End-Payor Plaintiff Class Representatives and the


                                             4
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39867 Filed 04/25/22 Page 12 of 35




   Settlement Class Members.” Id., PgId.3818. The settlement agreements also

   expressly reference each respective complaint. Id., PgId.3816. Those complaints

   note the “members of the proposed Classes purchased [the affected parts] indirectly”

   as “an owner or lessee of a new Vehicle.” See, e.g., Exhaust Systems, ECF No. 70

   ¶ 100. They further explain that “in a multiple-level chain of distribution, passing on

   monopoly overcharges is not the exception: it is the rule.” Id. ¶ 200.

         Settlement Class Counsel’s Prior Filings: Throughout the course of this

   long-pending litigation, Settlement Class Counsel have consistently taken the

   position that the classes they represent include only those at the end of the

   distribution chain and not entities higher up in the chain, such as automobile dealers.

   See, e.g., Exhaust Systems, ECF No. 36 (response to motion to dismiss). This

   position is consistent with the case law addressing potential conflicts of interest

   among multiple levels of indirect purchasers in antitrust class actions. See In re

   Methionine Antitrust Litig., 204 F.R.D. 161, 167 (N.D. Cal. 2001) (denying class

   certification in part because plaintiffs sought to represent two levels of indirect

   purchasers and noting “Plaintiff does appear to have a conflict with the class

   members to whom it resold methionine”); In re Class 8 Transmission Indirect

   Purchaser Antitrust Litig., 140 F. Supp. 3d 339 n.7 (D. Del. 2015) (finding a conflict

   where “truck resellers within the class have an interest in proving that they passed-




                                             5
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39868 Filed 04/25/22 Page 13 of 35




   through zero overcharges in order to recover 100% of the damages attributed to each

   resale, while the downstream purchasers have an opposite interest”).

         Settlement Class Counsel repeatedly explained in the motions for final

   approval that the settlements benefited the End-Payor Purchaser Class because

   “Defendants would offer expert testimony challenging the impact of their conduct”

   and End-Payor Purchasers would have to show the “Settling Defendants’ illegal

   overcharges were passed through multiple levels of indirect purchasers.” See, e.g.,

   Exhaust Systems, ECF No. 171, PgId.6197. This is consistent with an intent to

   represent only the end-payors—and not indirect purchasers that subsequently resold

   or leased vehicles to the end-payors.

         The Class Notice: Each Class Notice clearly explains that “you are included

   in the Settlement Classes … if …you bought or leased a qualifying new vehicle in

   the U.S. (not for resale).” ECF No. 2002-6, PgId.36559. The Class Notices also make

   clear that only “Purchasers or lessees of qualifying new vehicles”—not resellers or

   lessors—“may be members of the Settlement Classes entitled to monetary

   recovery.” Id., PgId.36569. This is further consistent with an intent to exclude

   entities like EFM that lease vehicles to end-payors.

         The Plan of Allocation: The approved Plan of Allocation also makes clear

   that “Authorized Claimants will share and share alike on a pro rata basis in the Net

   Settlement Funds” and “Allowed Claim Amounts for each Authorized Claimant will


                                            6
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39869 Filed 04/25/22 Page 14 of 35




   be determined separately for each Automotive Part.” See, e.g., Exhaust Systems,

   ECF No. 2002-2, PgId.36521-2. This indicates that only one settlement payment will

   be made for each qualifying Automotive Part. The Plan of Allocation does not permit

   (or even contemplate) multiple payments for the same vehicle to multiple levels of

   indirect purchasers within the vehicle distribution chain.

         The Structure of the In re: Automotive Parts Antitrust Litigation: This

   litigation contains two separate groups of indirect purchaser plaintiffs: the “Auto

   Dealer Class” and “End-Payor Class.” The Auto Dealer Settlement Class includes,

   “Dealers who indirectly purchased certain component parts and/or purchased new

   vehicles containing [the] component parts.”2 “Dealer” or “Automobile Dealer” is

   defined as “an entity or person authorized to engage in the business of selling

   and/or leasing new vehicles at retail in the United States.” Id. To the extent that

   FMCs, like EFM, are authorized to sell or lease new vehicles in the United States—

   by virtue of their actual vehicles sales and leases to end-payors—they are potential

   members of the Auto Dealer class.

         The Court’s Orders Approving the Settlements: Crowell and EFM

   acknowledge that, in approving the settlements, the Court understood that the

   settlement classes in these actions were limited to end-payor plaintiffs. For example,


   2
    First Phase Notice in Auto Dealer Action,
   http://www.autodealersettlement.com/media/692505/v4_auto1_notice_091715_fin
   al.pdf (last visited April 20, 2022).
                                             7
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39870 Filed 04/25/22 Page 15 of 35




   the Court stated that the settlements “identif[y] those jurisdictions that allow EPPs,

   who are indirect purchasers, to seek money damages or restitution.” In re Wire

   Harness, No. 12-cv-00103-SFC, ECF No. 512, PageID.17218 (Aug. 9, 2016); see

   also ECF No. 2192, PgId.39750 (where this quote is cited by Crowell and EFM).

    II.   Settlement Class Counsel’s November 2019 Email to Crowell Is
          Irrelevant, Was Not Relied Upon, And Is Not Inconsistent With the
          Settlement Class Definition.

          Crowell first raised a question about FMCs in an email dated October 17,

   2019. ECF No. 2192-3, PgId.39771. In that email, Crowell asked Settlement Class

   Counsel to confirm, inter alia, that “fleet management companies who purchase (and

   hold title to) new vehicles are . . . not otherwise excluded from the class by virtue of

   leasing their vehicles out to customers under long term leases.” Id., PgId.39770. The

   very fact that Crowell raised this question undercuts the argument that the settlement

   agreements unambiguously include FMCs as class members. In raising this question,

   neither Crowell nor EFM provided Settlement Class Counsel with any actual lease

   terms. Langham Decl. ¶ 4. Despite this, Settlement Class Counsel responded as

   follows on November 9, 2019:

                As discussed on our call, we will address many of the
                issues related to fleet management companies on a case-
                by-case basis. However, assuming for purposes of this
                response that the fleet management company at issue
                purchased new vehicles and retained title to those new
                vehicles while leasing them to customers under long term
                leases, those fleet management companies would be
                included in the class.

                                              8
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39871 Filed 04/25/22 Page 16 of 35




   Id.; see also ECF No. 2192-3, PgId.39770 (emphasis added).

         Settlement Class Counsel did not “confirm that fleet management companies

   such as EFM” “were included in the End Payor settlement class” as Crowell now

   contends. ECF No. 2192-2 at PgId.39762, ¶ 4 (Burton Decl.); see also Langham

   Decl. ¶ 5. Settlement Class Counsel did not state that in all cases FMCs that leased

   their vehicles to customers under long term leases would be included in the

   settlement class. Id. And, importantly, Settlement Class Counsel never stated that

   there could be multiple claimants and multiple recoveries for a single vehicle. Id.

   Instead, Settlement Class Counsel emphasized the “case-by-case” nature of the

   analysis involving FMCs, acknowledging that there may be some cases in which

   FMCs could recover as end-payors. Id. Crowell did not seek further follow-up and

   did not ask for more information. Id. ¶ 6.

         Three days after receiving that email, Crowell filed a claim on behalf of EFM.

   ECF No. 2192-5, PgId.39774 ¶ 3. It later supplemented EFM’s claim on March 16,

   2020. Id.; see also Reiss Decl. ¶ 5, Ex. D. EFM is the only FMC represented by

   Crowell. Id. ¶ 6. And the March 16, 2020 claim form is the only one on file for EFM.

   Id. To Settlement Class Counsel’s knowledge, all of the vehicles claimed by EFM

   are subject to long-term lease agreements; none were claimed or purchased for

   EFM’s own use or account. Id. In total, EFM seeks to recover for 1,043,056 vehicles

   and 2,618,908 replacement parts. Id. ¶ 7. Both before and after filing EFM’s claim,
                                                9
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39872 Filed 04/25/22 Page 17 of 35




   Crowell filed a litany of claims on behalf of true end-payors, including many who

   are on information and belief EFM’s customers. Id. ¶ 8. Regardless, these claims

   seek compensation for the same vehicles (identified by VIN) as EFM.

          Once the claims-filing deadline passed, the Claims Administrator began the

   process of de-duplicating claims by VIN number. Reiss Decl. ¶ 9. Of the 1,043,056

   vehicles claimed by EFM, 503,316 of them—48.25%—were also claimed by

   another entity and most—more than 500,000 of them—were claimed by another

   entity who is also represented by Crowell. Id. In many cases, in fact, Crowell filed

   not one, not two, but three separate claims for a single vehicle. Reiss Decl. ¶ 9.

   Settlement Class Counsel alerted Crowell to this specific problem in January 2022.3

   Langham Decl. ¶ 7 at Ex. A. Settlement Class Counsel also asked Crowell for EFM’s

   lease agreements, which Crowell initially declined to provide. Langham Decl. Id.

   ¶ 8. In any event, Crowell’s motion does not and cannot identify EFM or any other

   party’s detrimental reliance on Settlement Class Counsel’s email. See, e.g., ECF

   No. 2192.

   III.   Settlement Class Counsel Entered into a Stipulation with Another Third-
          Party Claims Filer and Its Clients that Is Not Binding on EFM and is
          Consistent with a Settlement Class Definition Limited to End-Payors.

          Third-party claims filer Class Action Capital, LLC (“CAC”) previously filed


   3
     This undercuts Crowell’s claim that it has received “no correspondence or
   communication . . . denying, limiting, or otherwise indicating that its claim is not in
   good standing.” ECF No. 2192-2, PgId.39763 ¶ 4.
                                             10
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39873 Filed 04/25/22 Page 18 of 35




   a Motion to Enforce Settlement Agreements relating to claims filed by four of the

   five largest FMCs, all of whom it represents. ECF No. 2149. CAC and Settlement

   Class Counsel negotiated a resolution to that motion through a stipulation entered

   by the Court. ECF No. 2182. The stipulation recognized that “[a] dispute has arisen

   as to whether FMCs that purchased vehicles and then leased those vehicles (as

   lessors) to FMC Customers (as lessees) are members of the EPP Settlement Classes

   and entitled to recover from the EPPs’ class settlements.” The stipulation further

   recognized that “two persons or entitles cannot both have a claim to share in the net

   settlement funds based on the purchase or lease of the same vehicle,” and set forth

   procedures for addressing FMC claims. See generally id.

         Those procedures established that in those instances where both FMCs and

   their customers filed otherwise valid and timely claims for the same vehicle, FMC

   customers and not FMCs would be paid. Id., PgId.39704. To address the concern

   that FMCs may have filed claims on behalf of their customers who did not file their

   own claims, the stipulation allows for FMC customers to recover through the FMCs

   in the event no duplicate customer claim was actually filed by the ultimate end-

   payor. Id. In such cases, the “FMC Claimants shall be required to pass on the

   recoveries they obtain from the net settlement funds to the FMC Claimants’

   customers [minus capped fees agreed to between the FMC and its customers].” Id.

         Following entry of the stipulation, Settlement Class Counsel discussed the


                                            11
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39874 Filed 04/25/22 Page 19 of 35




   issue with Crowell and offered Crowell’s clients the same treatment as defined in

   the stipulation. Langham Decl. ¶ 11. Settlement Class Counsel emphasized that

   payment of claims to multiple levels of the chain of distribution was inconsistent

   with the text and intent of the class definition. Id.

         Crowell, on behalf of its clients, did not agree to be bound by the terms of the

   stipulation, which patently does not bind any party other than the signatories. ECF

   No. 2182. Instead, given that EFM is not an end-payor and did not make any

   qualifying purchases, it is not a class member and its claims will be denied.

   IV.   The FMCs, Including EFM, Operate in a Manner that Excludes them
         from the Settlement Classes.

         There is little dispute about the general operation of the FMC business model.

   FMCs purchase large volumes of vehicles to satisfy customer demand for large

   quantities of new vehicles, often ordering thousands of vehicles at a time through

   orders placed directly with OEMs. Langham Decl. ¶ 12. Although the FMC-client

   relationship can vary, as a general matter, FMCs “provide fleet management services

   to businesses that operate fleets of vehicles.” ECF No. 2182, PgId.39700. “In certain,

   but not all instances, FMCs purchased new vehicles and then leased those vehicles

   to their customers” and “[i]n other instances, FMC Customers purchased or leased

   new vehicles directly from an automobile dealer or other third party either on their

   own or with an FMC’s administrative assistance, and the FMC performed fleet

   management services to the FMC customers relating to those vehicles.” Id.

                                              12
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39875 Filed 04/25/22 Page 20 of 35




         As the motion acknowledges, FMC leases mostly take the form of Open-End

   or Terminal Rental Adjustment Clause (“TRAC”) leases. ECF No. 2192-5,

   PgId.39775 ¶¶ 5 & 6.4 When FMCs lease vehicles under open TRAC leases, the

   lease generally provides that the lessor will sell the vehicle at the end of the lease

   term and share the profits or losses of the sale with the FMC Customer.5 The FMCs

   purchase the vehicles specifically for purposes of leasing the vehicle to their

   customers under an open-ended lease agreement that contemplates that the vehicle

   will be sold as part of the same transaction. Exs. to ECF No. 2149 (sample leases

   from some of the largest EFMs). EFM’s website explicitly mentions that it is a resale

   expert, stating “[n]o other company buys and sells more vehicles than enterprise”

   and noting that “[i]n 2017, Enterprise sold more than 1.1 million client vehicles.”6

   Although EFM has redacted its own sample lease agreement, lease agreements from

   the largest FMCs confirm that FMC customers make lease payments pegged to the

   new vehicle purchase price, plus the FMC’s administrative fees. Exs. to ECF

   No. 2149 (Element, at Art. 7; Wheels, at 2).7

                                      ARGUMENT


   4
     See also Langham Decl., ¶ 13, Exhibit C at 30-31 (Deloitte (2018): Fleet Leasing
   & Management in North America).
   5
     Langham Decl., ¶ 12, Exhibit B at 2 (Fleet Financials (2016): Open-End vs.
   Closed-End Leasing).
   6
     https://www.elementfleet.com/fleet-services/car-light-duty/vehicle-remarketing.
   7
     Element does not contend that its business model operates any differently than the
   other FMCs. See generally ECF No. 2192.
                                            13
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39876 Filed 04/25/22 Page 21 of 35




     I.   EFM Is Not Entitled to Relief Since It Is Not A Settlement Class Member.

          A. The Settlement Agreements Limit the Settlement Class to End-
             Payors.

          Crowell and EPPs agree that the language of the settlement agreements govern

   whether EFM is a member of the Settlement Classes. ECF No. 2192, PgId.39735.

   Because settlement agreements are a type of contract, their interpretation is governed

   by state contract law. See Yamashita, 997 F.3d at 681 (“A settlement agreement is a

   contract governed by principles of state contract law, here Michigan law.”). “Under

   Michigan law, ‘[t]he primary goal of contract interpretation is to honor the intent of

   the parties.’” Id. (quoting Old Kent Bank v. Sobczak, 243 Mich. App. 57, 63 (2000)).

          Crowell incorrectly alleges that FMCs like EFM are settlement class members

   under the “plain language of the settlements.” ECF No. 2192, PgId.39741. But this

   reading requires the Court to improperly look at the settlement class definition

   without consideration of the “contract as a whole.” Yamashita, 997 F.3d at 681. For

   example, the settlement agreements make clear that only end-payors are covered.

   See, e.g., Exhaust Systems, ECF No. 112-1, PgId.3818 (defining Releasors as “End-

   Payor Plaintiff Class Representatives and the Settlement Class Members”). The

   settlement agreements also specifically reference each respective complaint. Id.,

   PgId.3816. Those complaints explain that the “members of the proposed Classes

   purchased [the affected parts] indirectly” as “an owner or lessee of a new Vehicle”

   and that “in a multiple-level chain of distribution, passing on monopoly overcharges

                                            14
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39877 Filed 04/25/22 Page 22 of 35




   is not the exception: it is the rule.” Id. ¶ 200; See also Exhaust Systems, ECF No. 70

   ¶¶ 100, 200 & ECF No. 171, PgID.6197 (noting “EPPs would have to show that the

   . . . Settling Defendants’ illegal overcharges were passed through multiple levels of

   indirect purchasers”). The motion ignores this when it asserts that “whether FMCs

   are ‘end payors’ under antitrust law is wholly irrelevant here in light of the approved

   class definition in the Settlement Agreements.” ECF No. 2192, PgId.39742.

         Also, the settlement class definitions contain the exclusionary term “not for

   resale.” Courts considering the “not for resale” term have found that its “ordinary

   use” excludes all entities except end-users. See Request Foods, Inc. v. Am. Roland

   Food Corp., No. 1:11-CV-128, 2012 WL 13018611, at *2 (W.D. Mich. Sept. 12,

   2012). In Request Foods, the court held that an entity that purchased olive paste to

   incorporate it into frozen food entrees to be sold in wholesale quantities at retail

   constituted a “reseller” of olive paste for purposes of the Magnuson Moss Warranty

   Act. Id. In so holding, the court rejected the entity’s argument that it was a purchaser

   of a consumer product sufficient to obtain that law’s protection because the entity

   made the purchase for “resale.” Id. at *1-2. The court specifically interpreted the

   term “resale” to focus on “the ultimate end user, or the retail level customer,” and

   exclude all others. Id. The same interpretation should apply here, particularly in light

   of the settlement agreements’ explicit instruction that the agreements “shall be

   construed and interpreted to effectuate the intent of parties.” See Exhaust Systems,


                                             15
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39878 Filed 04/25/22 Page 23 of 35




   ECF No. 112-1, PgId.3841 (Meritor Settlement). This is the only interpretation

   supported by the additional documents, mentioned above. Supra at Background, § I.

         B. EFM is Properly Excluded from the Settlement Class Because FMCs
            Are Not “End-Payors” of a Leased Vehicle.

         Given that the settlement classes are limited to “end-payors,” it is clear that

   FMCs such as EFM cannot automatically be settlement class members. EFM does

   not contest that it purchases vehicles to lease those vehicles to its corporate

   customers. See supra Background, § IV. It therefore concedes that it is not the end-

   user in the chain of distribution but is simply part of a chain of indirect purchasers

   that passed costs through to businesses and consumers that ultimately purchased or

   leased the new vehicles from it. Further supporting this conclusion is the fact that

   even the redacted sample lease agreement provided by FMC passes all risk of loss

   on to the client, as well as all “costs, expenses, fees and charges.” ECF No. 2192-6,

   PgId.39782 (“Lessee assumes and agrees to bear the entire risk of loss . . . ”).

         C. Treating EFM As An EPP Settlement Class Member Creates Double
            Recovery Problems And Was Never Contemplated.

         The motion’s position that “both owners and lessees” are entitled to recover

   for the same vehicle cannot be correct for the simple reason that nothing in the

   settlement agreements, plan of allocation, or any other document filed in this

   litigation contemplate such duplicate recovery. The Plan of Allocation allocates

   payment on a per-vehicle and per-part pro rata basis. Offering two payments for a


                                             16
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39879 Filed 04/25/22 Page 24 of 35




   single vehicle would necessarily contradict this pro rata scheme. Additional

   payments to FMC lessors would also reduce payments recovered by end-payor class

   members that purchased or leased vehicles without FMCs. The fact that the Plan of

   Allocation makes no provision for more than one payment on a single vehicle—to

   FMC lessors or otherwise—further indicates an intent to exclude such double

   payments. It is also the case that, despite purporting to have filed this motion solely

   on behalf of EFM, Crowell’s position that multiple recoveries are available for a

   single vehicle would reduce EFM’s total recovery under the pro rata payment

   system if EFM were a settlement class member at the expense of its clients. This fact

   calls into question whether the instant motion was in fact filed on behalf of EFM’s

   interests (rather than Crowell’s).

         The In re Navistar MaxxForce Engines Marketing notice cited in the motion,

   ECF No. 2192 at PgId.39745, does not suggest otherwise, Case No. 1:14-cv-10318

   PageID.13703-4 (N.D. Ill.). Navistar was a product liability case, not an antitrust

   action. In that case, the settlement class definition expressly included both the lessor

   and the lessee of the same vehicle. The notice also expressly provided that each

   would share in the settlement on a 50/50 basis with respect to claims based on the

   same vehicle. In this case, the settling parties did not include lessors of vehicles in

   the settlement class definition. Nor did the plan of allocation provide that settlement

   proceeds would be shared by the lessors and lessees of the same vehicle. Navistar


                                             17
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39880 Filed 04/25/22 Page 25 of 35




   actually supports EPPs’ position. Had the parties intended both lessors and lessees

   to recover, they would have memorialized this in the settlement agreements.8

   Instead, the settling parties repeatedly referenced lessees as the appropriate end-

   payor plaintiff; providing only a single payment per vehicle in the plan of allocation.

    II.   The Motion is Procedurally Improper Since EFM Has Neither Sought
          Nor Been Granted Leave to Intervene.

          Beyond the merits, the motion should be denied for the independent reason

   that it is improper. In order for a non-party to insert itself into a lawsuit where it

   purportedly asserts interests, it must first successfully intervene. Franklin Cty. v.

   Travelers Prop. Cas. Ins. Co. of Am., No. CIV.A 3:08-52-DCR, 2008 WL 4787401,

   at *2 (E.D. Ky. Oct. 30, 2008) (intervention “allows non-parties to insert themselves

   into lawsuits where their interests may be affected”); see also Toldy v. Fifth Third

   Mortg. Co., No. 1:09 CV 377, 2010 WL 2640021, at *2 (N.D. Ohio June 29, 2010).

          Here, EFM has not sought intervention and is not a party. EFM is admittedly

   not an end-payor and is therefore not a settlement class member. EFM has only filed

   claims for vehicles that it resold or leased to end-payor customers, and thus has only

   filed claims in its capacity as a lessor and reseller. EFM’s failure to intervene is



   8
     Crowell’s self-serving interpretation could potentially allow a second type of
   double-recovery. The Auto Dealer settlement agreements define “Automobile
   Dealership” as “any person or entity who has purchased new Vehicles . . . for resale
   or lease.” Case No. 2:13-cv-00702-MOB-MKM, ECF No. 93-3, PgId.2363 (Denso
   Settlement Agreement). FMCs could recover for claims in the Auto Dealer cases.
                                             18
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39881 Filed 04/25/22 Page 26 of 35




   therefore fatal and the motion should be denied.9

   III.   Estoppel Does Not Prevent Settlement Class Counsel From Asserting
          EFM’s Exclusion From the Settlement Classes.

          Without using the word “estoppel,” Crowell (allegedly on behalf of EFM)

   suggests that statements made in Settlement Class Counsel’s November 2019 email

   require a tortured interpretation of the settlement class definition that would include

   both FMCs and their clients. ECF No. 2192, PgId.39839-40. But this argument

   misconstrues the content of Settlement Class Counsel’s email as well as the

   requirements of equitable estoppel. See Paul v. Detroit Edison Co., 94 F. Supp. 3d

   880, 887 (E.D. Mich. 2015) (noting the elements of estoppel, including reliance).

          As stated above, the statement in Settlement Class Counsel’s November 2019

   email does not say what Crowell and EFM suggest and emphasized the “case-by-

   case” nature of the analysis. See supra Background, § 2. Moreover, the very fact that

   Crowell asked whether “fleet management companies who purchase (and hold title

   to) new vehicles are . . . not otherwise excluded from the class by virtue of leasing

   their vehicles out to customers under long term leases” demonstrates that the

   Settlement Agreements did not include FMCs.10


   9
     Even if Crowell or EFM moved to intervene at this juncture, such a motion would
   properly be denied as untimely.
   10
      For example, one factor to consider in a case-by-case analysis of FMC transactions
   would be whether the agreements between the FMC and its customers contemplated
   at the outset that at the end of the lease term the FMC would resell the vehicle. In
   that circumstance, the vehicle would have been purchased for purposes of resale.
                                             19
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39882 Filed 04/25/22 Page 27 of 35




         Regardless of what Settlement Class Counsel said in 2019 to Crowell, no such

   statement forms the basis of any claim by EFM to participate in the settlements.

   EFM does not claim that Settlement Class Counsel are estopped from asserting that

   EFM is not entitled to share in the settlements. Nor could it. Estoppel requires the

   moving party to prove detrimental reliance. Paul, 94 F. Supp. 3d 887. EFM

   submitted no evidence showing it relied upon a statement made by Settlement Class

   Counsel in November 2019. And the claim of reliance made on its behalf is purely

   conclusory; no one claims that EFM refrained from filing claims as a result of the

   purported “guidance.” ECF No. 2192-2, PgId.39762 (alleging only reliance “in

   pursuing its claim to the End Payor settlements”). Furthermore, the customers of

   EFM also submitted claims; accordingly, neither EFM nor Crowell can say that

   timely claims were not filed as a result of the November 2019 statement of

   Settlement Class Counsel. See, e.g., Langham Decl. ¶ 7; Reiss Decl. ¶ 8.

   IV.   The CAC Stipulation Supports Settlement Class Counsel’s Position and
         Is Consistent With the Plan of Allocation.

         EFM next asserts the CAC stipulation entered by this Court should be

   stricken. ECF No. 2192, PgId.39746. EFM takes aim at the stipulation for a simple

   reason: it supports EPPs’ position that there can only be one claimant per vehicle.

   ECF No. 2182, PgId.39702 (“[T]wo persons or entitles cannot both have a claim to

   share in the net settlement funds based on the purchase or lease of the same vehicle

   and the Claims Administrator will only recognize one claim for each unique vehicle

                                           20
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39883 Filed 04/25/22 Page 28 of 35




   VIN.”). This recital agreed to by four of the largest FMCs who filed more claims

   than EFM supports the position taken by Settlement Class Counsel. Id., PgId.39701.

         The motion also seeks to overturn the stipulation because it gives the FMC

   customer claimant preference where there are competing claims for the same vehicle

   filed by both a customer and an FMC and because it requires the FMC to “pass on

   the recoveries they obtain from the net settlement funds to the FMC Claimants’

   customers.” Id., PgId.39703-4. The motion argues that the stipulation “violates the

   approved Plans of Allocation by compensating non-class members and class

   members who failed to file valid, timely claims, and raises serious concerns about

   the scope of the class release.” ECF No. 2192, PgId.39746. But this is incorrect. Not

   only does EFM lack standing to challenge the stipulation, but the stipulation does

   not violate either Illinois Brick or the plan of allocation.

         A.     Movant Does Not Have Standing to Challenge the Stipulation.

         Since EFM is not a settlement class member, it does not have standing to

   challenge the stipulation or any other proceedings in connection with the settlements.

   Marino v. Ortiz, 484 U.S. 301 (1988) (holding that white police officers could not

   appeal a settlement involving a class of minority policy officers who had brought a

   racial discrimination suit even though the settlement affected them). Similarly, EFM

   does not have authority to overturn an agreement to which it is not a party. See

   Livonia Prop. Hldgs., L.L.C. v. 12840-12976 Farmington Rd. Hldgs., L.L.C., 717 F.


                                              21
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39884 Filed 04/25/22 Page 29 of 35




   Supp. 2d 724, 735 (E.D. Mich. 2010) (“a non-party to a contract does not have the

   right to challenge the validity of the contract unless it is a third-party beneficiary to

   that contract”). To the degree EFM contends that it is bound by the stipulation, it is

   mistaken. ECF No. 2192, PgId.39753. Settlement Class Counsel did offer EFM the

   same treatment as outlined in the stipulation and EFM declined. Langham Decl. ¶ 11.

   Settlement Class Counsel does not seek to bind any person or entity to the Stipulation

   other than the signatories. Id. ¶¶ 11 & 13.

         B.     The CAC Stipulation Does Not Violate Illinois Brick.

         Even if EFM or Crowell did have standing to challenge the stipulation, their

   arguments lack merit. First, the contention that the stipulation violates the law by

   “diminish[ing] qualifying state claims in violation of Illinois Brick by allowing . . .

   FMCs to pass on settlement funds to their non-qualifying state customers” is wrong.

   ECF No. 2192, PgId.39747. Tellingly, the motion fails to cite to a single example of

   such an outcome. To be clear, where such information can be reasonably ascertained,

   an FMC customer’s eligibility to participate in the settlements will be based on the

   FMC customer and not the FMC’s principal place of business or place of

   purchase/lease. Where such information cannot be reasonably ascertained, nothing

   precludes the Claims Administrator from relying on additional information,

   including, but not limited to, the place of purchase or principal place of business of

   the FMC. See, e.g., Welsh v. Wachovia Corp., 191 F. App’x 345, 348 (6th Cir. 2006)


                                              22
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39885 Filed 04/25/22 Page 30 of 35




   (noting that the claims administrator on an insurance claim had discretion regarding

   proof of claims); see also Lyngaas v. Curaden AG, 436 F. Supp. 3d 1019, 1027 (E.D.

   Mich. 2020), aff'd sub nom. 992 F.3d 412 (6th Cir. 2021) (claim form could require

   verification layers). The fact that a small number of hypothetical non-qualifying

   entities may recover does not render the settlements or the claims process unfair. In

   re Polyurethane Foam Antitrust Litig., 168 F. Supp. 3d 985, 998 (N.D. Ohio 2016)

   (rejecting “boilerplate, conclusory assertions” that the “[c]laims administration

   process fails to require reliable oversight, accountability and reporting about whether

   the claims process actually delivers what it was promised” and saying that this does

   not suggest the “administration process carries any meaningful or serious faults”).

         Second, Crowell’s contention that the stipulation is prohibited by Illinois

   Brick misses the mark. As an initial matter, Illinois Brick only applies to a litigated

   class and not to a settlement class. 431 U.S. 720 (1977); see also ECF No. 2182 at

   PageID.39702 (noting “[t]he Stipulating Parties propose to resolve the dispute for

   purposes of settlement only”). As Crowell correctly points out in its moving brief,

   the Sixth Circuit recently held that “Illinois Brick is a question of antitrust standing

   . . . It is not a question that bears on the interpretation of the settlement agreements.”

   In re Automotive Parts Litig., 997 F.3d 677, 683 (6th Cir. 2021). Indeed, all of the

   cases cited in support of the motion bolster this point; each involved litigation rather

   than settlement classes. In re Optical Disk Drive Antitrust Litig., 2016 WL 467444,


                                              23
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39886 Filed 04/25/22 Page 31 of 35




   *13 (N.D. Cal. Feb. 8, 2016) (certifying litigation class and requesting report “on

   how the litigation should proceed”); see also Stromberg v. Qualcomm, Inc., 14 F.4th

   1059, 1068 (9th Cir. 2021) (vacating certification of litigation class). It follows, a

   fortiori, that Illinois Brick has no relevance on the claims validation process.

         Similarly, Crowell’s contention that the stipulation obligates FMCs to “ ‘pass

   on’ 80% of any settlement recovery to their customers, regardless of the customer’s

   nexus to a qualifying state” is also wrong. ECF No. 2192. The stipulation instead

   permits third-party filer CAC and its FMC clients to seek from FMC customers an

   aggregate fee reflecting “the amount previously agreed to” by the parties, but in no

   event “greater than 20%.” Id. ¶ 6 (emphasis added). But for the imposition of a

   ceiling on fees collected, this is no different than the myriad agreements that third-

   party filers such as Crowell have with their clients. The fact that CAC and its FMC

   clients have agreed to a cap on the aggregate fee that they will seek to collect from

   FMC customers pursuant to the parties’ agreements does not in any way prejudice

   EFM or any settlement class member. Nor does it undermine the settlements, the

   plan of allocation, the claims process, or the distribution of the settlement proceeds.

         C.     The CAC Stipulation Does Not Violate the Plan of Allocation.

         The motion next complains that the CAC stipulation “violates the approved

   Plans of Allocation by allowing . . . FMCs to pass on settlement funds to class

   members who failed to file timely claims, or any claim at all.” ECF No. 2192,


                                             24
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39887 Filed 04/25/22 Page 32 of 35




   PgId.39751. Stated differently, these entities seek to overturn the stipulation based

   on a contention that the stipulated order will dilute payments to other end payors.

         But neither EFM nor Crowell have standing to make this objection since

   neither are adversely affected by the stipulated order. The stipulation was entered

   into to resolve a dispute about whether FMCs could assert claims to share in the

   settlements and to address the concern that FMCs may be deemed to have filed

   claims on behalf of their customers who did not file their own claims. Accordingly,

   it allows for FMC customers to recover based on the claims submitted by FMCs and

   requires them to pass on any recoveries to their customers in the event no duplicate

   customer claim was actually filed by the ultimate end-payor. EFM’s complaint about

   FMC claims being recognized (and with the requirement to pass on their recoveries

   to their customers) which thereby allegedly enables unqualified customers to share

   in the settlements also contradicts its position that the FMCs are entitled to be

   considered as class members.

                                     CONCLUSION

         EPPs respectfully request that this Court deny the request for relief.



   Dated: April 25, 2022                  Respectfully submitted,

                                          SUSMAN GODFREY L.L.P.

                                          /s/ Jenna G. Farleigh


                                            25
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39888 Filed 04/25/22 Page 33 of 35




                                             Marc M. Seltzer
                                             Steven G. Sklaver
                                             1900 Avenue of the Stars, Suite 1400
                                             Los Angeles, California 90067-6029
                                             Telephone: (310) 789-3100
                                             mseltzer@susmangodfrey.com
                                             ssklaver@susmangodfrey.com

                                             Terrell W. Oxford
                                             Chanler A. Langham
                                             SUSMAN GODFREY LLP
                                             1000 Louisiana Street, 5100
                                             Houston, Texas 77002
                                             Telephone: (713) 651-9366
                                             toxford@susmangodfrey.com
                                             clangham@susmangodfrey.com

                                             Floyd G. Short
                                             Jenna G. Farleigh
                                             SUSMAN GODFREY LLP
                                             1201 Third Avenue, Suite 3800
                                             Seattle, Washington 98101
                                             Telephone: (206) 516-3880
                                             fshort@susmangodfrey.com
                                             jfarleigh@susmangodfrey.com

                                             Adam J. Zapala
                                             Elizabeth Castillo
                                             COTCHETT, PITRE &
                                             McCARTHY, LLP
                                             San Francisco Airport Office Center
                                             840 Malcolm Road, Suite 200
                                             Burlingame, California 94010
                                             Telephone: (650) 697-6000
                                             azapala@cpmlegal.com
                                             ecastillo@cpmlegal.com




                                        26
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39889 Filed 04/25/22 Page 34 of 35




                                             William V. Reiss
                                             ROBINS KAPLAN LLP
                                             399 Park Avenue, Suite 3600
                                             New York, New York 10022
                                             Telephone: (212) 980-7400
                                             wreiss@robinskaplan.com

                                             Attorneys for End-Payor Plaintiffs-
                                             Appellees




                                        27
Case 2:12-md-02311-SFC-RSW ECF No. 2205, PageID.39890 Filed 04/25/22 Page 35 of 35




                             CERTIFICATE OF SERVICE

         I hereby certify that on April 25, 2022, I electronically filed the foregoing

   paper with the Clerk of the court using the ECF system which will send notification

   of such filing to all counsel of record registered for electronic filing.



   Dated: April 25, 2022                           /s/ Jenna G. Farleigh
                                                   Jenna G. Farleigh

                                                   Attorney for End-Payor Plaintiffs




                                              28
